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 5
                      IN THE UNITED STATES DISTRICT COURT
 6
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
 8   UNITED STATES,                  )       Case No. CR-S-98-0068 DFL
                                     )
 9             Plaintiff,            )       ORDER AUTHORIZING THE LIMITED
                                     )       DISCLOSURE OF THE GOVERNMENT’S
10        v.                         )       RULE 35 MOTION ON BEHALF OF
                                     )       DEFENDANT CECILE GREATHOUSE
11   CECILE GREATHOUSE,              )
                                     )
12             Defendant.            )
                                     )
13
                                       ORDER
14
          The United States of America moves this Court for an order
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     unsealing and permitting the limited disclosure of the
16
     government’s motion for reduction of defendant Cecile
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     Greathouse’s sentence pursuant to Federal Rule of Criminal
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     Procedure 35 in Case No. CR-S-98-0068 DFL.        The motion requests
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     limited disclosure based upon the need for production of the Rule
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     35 motion in a pending criminal matter in the Northern District
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     of Florida, United States v. Barnes, et al., Case No.
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     4:06-cr-36-RH.
23
          The government’s motion is GRANTED and IT IS HEREBY ORDERED:
24
          1.   The government’s motion for reduction of sentence
25             pursuant to Federal Rule of Criminal Procedure 35(b) on
               behalf of defendant Cecile Greathouse in Case No. 98-
26             0068 DFL, filed March 29, 2000, (“Greathouse Rule 35
               motion”) may be provided to the prosecutors in a
27             pending Northern District of Florida criminal case so
               that the prosecutors in that action may comply with
28             their disclosure obligations;

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 1        2.   If the prosecutors in the Florida case believe that the
               disclosure of the Rule 35 motion should be subject to
 2             conditions, in order to protect the witness, then the
               prosecutors should seek an appropriate protective order
 3             in that action.
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     DATED: 10/17/2006
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 8                                      DAVID F. LEVI
                                        Chief United States District Judge
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